
TACHA, Circuit Judge.
Defendant-appellant Nathaniel Solon was convicted of possession and attempted receipt of child pornography in violation of 18 U.S.C. § 2252A(a)(l), (a)(5)(B), and (b)(2). He was sentenced to concurrent terms of 72 months’ imprisonment. In this appeal, Mr. Solon argues that: (1) the government denied him the right to present a complete defense; (2) a six-minute absence by the trial judge constituted structural error; and (3) he was denied his right to a speedy trial. We have jurisdiction under 28 U.S.C. § 1291, and we AFFIRM.
I. BACKGROUND
On January 18, 2007, Mr. Solon was charged by indictment with possession of child pornography. He entered a plea of guilty to that charge on October 2, 2007. During his sentencing hearing on January 3, 2008, Mr. Solon stated that he was innocent and the only reason he had pleaded guilty was because he did not have the financial resources to hire an expert witness to investigate his defense. The district court continued the proceeding, appointed Mr. Solon’s private attorney to represent him, and indicated that it would provide funding for an expert witness to help Mr. Solon prepare a defense.
Mr. Solon requested the court’s approval to retain Tami Loehrs, an out-of-state expert with experience in computer forensic analysis. The district court approved Ms. Loehrs as an expert witness, and authorized payment for “a total billing not to exceed $20,000 unless further ordered by the Court.” Subsequently, Mr. Solon filed a motion requesting payment of Ms. Loehrs’s initial bill of $10,603.90, which covered travel, lodging, and compensation *1209for three days of work. Although the court noted that the bill seemed “unusually high,” it paid the initial request. Because of the court’s concern over Ms. Loehrs’ fees, however, it withdrew its prior authorization of a $20,000 maximum for her services and ordered that all future requests should be supported by specific cost estimates and evidence of the need for and reasonableness of such services prior to incurring additional costs.
At a hearing on April 16, 2008, Mr. Solon cited Ms. Loehrs’s preliminary expert report as grounds for withdrawing his guilty plea. In her report, Ms. Loehrs opined that there was no evidence that the images of child pornography on Mr. Solon’s computer were ever opened, viewed, or saved to another location. Furthermore, she believed that a virus may have compromised the system and allowed access to the computer by outside sources, although she had not yet determined to what extent, if any, that had actually occurred.
While the court considered Mr. Solon’s motion to withdraw his guilty plea, he filed a motion to dismiss for violation of the Speedy Trial Act. The court allowed Mr. Solon to withdraw his guilty plea but denied his motion to dismiss. The court also agreed to pay for Ms. Loehrs to testify at the trial and for four hours of pretrial consultation.
Mr. Solon’s trial commenced on November 3, 2008. During defense counsel’s closing argument, the judge excused himself from the bench, instructing the attorneys to “go right ahead.” Defense counsel did not object, but decided to wait for the judge’s return before completing his closing argument. The judge returned just under six minutes later, apologized for his absence, and explained that it was his secretary’s afternoon to play canasta and he had to get a couple of letters out. The jury convicted Mr. Solon later that day, and the court sentenced him to 72 months’ imprisonment.
Mr. Solon filed a motion for a new trial, asserting that the judge’s absence constituted structural error because the jury may have inferred from his conduct that Mr. Solon’s argument was not worth listening to. The trial court denied the motion, concluding that if there was any error it was harmless. This timely appeal followed.
II. DISCUSSION
A. Complete Defense
Mr. Solon first alleges the district court infringed on his Fifth Amendment right to present a complete defense and his rights under the Criminal Justice Act (“CJA”) when it modified its prior approval of funding for his expert witness. He argues that the court’s order effectively halted the expert’s work and struck her funding, thereby impeding his ability to develop and put on a complete defense. The government contends that it was permissible for the district court to require Mr. Solon to provide documentation prior to obtaining additional funding and that the district court did not violate Mr. Solon’s rights because it never denied a request for funding.
1. Criminal Justice Act
The CJA authorizes district courts to pay for indigent defendants’ counsel and “investigative, expert, and other services necessary for adequate representation.” 18 U.S.C. § 3006A(e)(l). “In order to obtain services under this provision, the defendant must do more than allege that the services would be helpful.” United States v. Kennedy, 64 F.3d 1465, 1470 (10th Cir.1995). Rather, as the statute clearly states, the defendant must convince the court that the expert’s services are “necessary to an adequate defense.” *1210United States v. Greschner, 802 F.2d 373, 376 (10th Cir.1986). Under the CJA, if the cost of an expert exceeds $1,600, not taking into account actual expenses, it will not be paid unless “certified by the court ... as necessary to provide fair compensation for services of an unusual character or duration....” 18 U.S.C. § 3006A(e)(3). “Appointing an expert is within the discretion of the [c]ourt,” United States v. Ready, 574 F.2d 1009, 1015 (10th Cir. 1978); therefore, we review the denial of a CJA funding request for an abuse of discretion. Kennedy, 64 F.3d at 1470.
Here, the district court did not abuse its discretion, because, as the government points out, the district court never actually denied a funding request. Indeed, the district court granted the only funding request Mr. Solon made. Therefore, Mr. Solon’s argument necessarily fails. Furthermore, § 3006A(e)(3) expressly provides a district court with the discretion to determine whether high costs are “fair compensation for services of unusual character or duration.” In this case, the defense expert, Ms. Loehrs, submitted a bill of more than $10,000 for three days of work. The district court, understandably concerned by the high costs, altered its earlier approval of expenses and required Ms. Loehrs to provide the court with an “affidavit itemizing expenses incurred on behalf of [Mr. Solon] prior to ... preauthorization of expert expenses.” This change was intended to provide the court with a chance to “scrutinize and approve reasonable expenses incurred,” and is consistent with the district court’s discretion to approve expert fees under § 3006A(e)(3).
Because the district court never denied a funding request and because the court’s requirement of an affidavit from Mr. Solon and his expert finds implicit support in § 3006A(e)(3), we hold that the district court did not abuse its discretion with respect to its provision of defense expert fees under the CJA.
2. Fifth Amendment Right to Due Process
“The Fifth Amendment’s guarantee of fundamental fairness entitles indigent defendants to a fair opportunity to present their defense at trial.” Kennedy, 64 F.3d at 1473. “An indigent defendant is not entitled to all the assistance that a wealthier counterpart might buy, but rather only the basic and integral tools.” Id. We determine what services constitute “basic tools” by considering three factors: (1) the effect on the defendant’s interest in the accuracy of trial if the requested service is not provided; (2) the burden on the government’s interest if the service is provided; and (3) the probable value of the additional service and the risk of error in the proceeding if the service is not offered. Id. Importantly, these factors are all based upon a request by the defendant for additional services.
The fact that Mr. Solon failed to request additional funding is again dispositive. The district court granted all of Mr. Solon’s requests for expert witness funding and provided him with the means to request further funding. Regardless of whether he believed the court was inclined to provide such funding, Mr. Solon’s failure to make such requests negates any alleged constitutional violation by the court.
B. Structural Error
Mr. Solon also argues that the district judge’s brief absence from the bench during defense counsel’s closing argument constitutes structural error requiring automatic reversal. The government concedes that it was error for the judge to leave the bench, but maintains that it is trial error and thus subject to harmless-error review.
*1211Although most constitutional errors can be harmless, some are so offensive to our judicial system that they require automatic reversal. Arizona v. Fulminante, 499 U.S. 279, 306-09, 111 S.Ct. 1246, 113 L.Ed.2d 302 (1991). “These violations, termed ‘structural errors,’ involve defects in the ‘trial mechanism’ and affect ‘the framework within which the trial proceeds’ ‘from beginning to end.’ ” United States v. Lott, 433 F.3d 718, 722 (10th Cir.2006) (quoting Fulminante, 499 U.S. at 309-10, 111 S.Ct. 1246). “Structural errors deprive defendants of ‘basic protections’ without which ‘a criminal trial cannot reliably serve its function as a vehicle for determination of guilt or innocence, and no criminal punishment may be regarded as fundamentally fair.’ ” United States v. Gonzalez-Huerta, 403 F.3d 727, 733 (10th Cir.2005) (quoting Rose v. Clark, 478 U.S. 570, 577-78, 106 S.Ct. 3101, 92 L.Ed.2d 460 (1986)). “[A] defining feature of structural error is that the resulting unfairness or prejudice is necessarily unquantifiable and indeterminate, such that any inquiry into its effect on the outcome of the case would be purely speculative.” Id. (internal quotations omitted). On the other hand, trial errors which are not deemed structural remain subject to harmless error review. See Fulminante, 499 U.S. at 306-07, 111 S.Ct. 1246.
The Supreme Court has only deemed errors structural in a “very limited class of cases.” Johnson v. United States, 520 U.S. 461, 468-69, 117 S.Ct. 1544, 137 L.Ed.2d 718 (1997). These include: a total deprivation of the right to counsel; the lack of an impartial trial judge; the unlawful exclusion of grand jurors of defendant’s race; a deprivation of the right to self-representation at trial; the denial of the right to a public trial; and an erroneous reasonable-doubt jury instruction. See id. (citations omitted). Neither the Supreme Court nor this circuit has ever decided whether a judge’s absence from the bench constitutes structural error. The Third, Fourth, Fifth, and Ninth Circuits, however, have considered the issue but have reached differing conclusions.
In support of his position, Mr. Solon cites United States v. Mortimer, 161 F.3d 240 (3d Cir.1998) and Riley v. Deeds, 56 F.3d 1117 (9th Cir.1995). In Mortimer, the judge disappeared from the bench during defense counsel’s closing argument. 161 F.3d at 241. The judge did not announce his departure and nobody noticed his absence until the prosecutor made an objection. Id. The judge gave no reason for his disappearance and was back on the bench “in time to thank defense counsel for her speech and call the prosecutor for her rebuttal.” Id.
The Third Circuit noted the importance of a judge’s presence during trial and held that “[o]n the facts of this case ... structural error occurred.” Id.
Similarly, in Riley the judge disappeared during jury deliberations. 56 F.3d at 1118. When the jury asked the court to read back part of the trial testimony, the judge could not be located. Id. In the judge’s absence, his law clerk granted and presided over the readback proceeding. Id. The Ninth Circuit held that “the state trial judge’s failure to rule on whether the victim’s direct examination should have been read back, coupled with his absence and unavailability during the readback proceeding, resulted in structural error ....” Id.
In contrast, the government cites Heflin v. United States, 125 F.2d 700 (5th Cir. 1942) and United States v. Love, 134 F.3d 595 (4th Cir.1998) for the position that the absence of a judge from the bench is not necessarily structural error. In Heflin, the Fifth Circuit held that the absence of a trial judge “for two or three minutes” during the defendant’s closing argument did not result in prejudice. 125 F.2d at 701. *1212Although the judge did not announce his departure, there were no objections or motions made during his absence, and thus no prejudice to the defendant. Id.
Likewise, in Love the Fourth Circuit held that a district judge’s absence during portions of closing arguments was harmless error. 134 F.3d at 604-05. The judge told both parties that he would “on occasion be in his chambers, working on other matters,” but he would be available to rule on objections should any be made. Id. at 604. Neither party objected to the judge’s absence and the defendant could not point to any “specific comments made in the district judge’s absence that affected the trial’s fairness.” Id. Nevertheless, the defendant alleged that the absence itself gave the jury the impression that the judge had made up his mind. Id. at 605. The Fourth Circuit refused to consider the absence structural error noting that unlike in Riley, there was no “complete abdication of judicial control over the process.” Id. It further concluded that the error was harmless because the judge was absent “during both sides’ closing arguments” and “explained to the jury why he would leave the courtroom.” Id.
Here, the district judge left the bench for just under six minutes in the middle of defense counsel’s closing argument and his clerk informed the parties that he was still available to rule on objections. Although the record conveys the parties’ confusion, at no point did Mr. Solon object to the judge’s absence. Furthermore, counsel were aware that the judge was leaving the bench, and despite his instruction to “go right ahead” nothing occurred during his absence. Finally, upon his return to the bench, the judge explained his brief absence to the court. Therefore, unlike in Mortimer and Riley, the judge in this case was available if needed and there were no objections to rule on or decisions for him to make while he was away from the bench. Based on the record and the above-cited case law, we cannot conclude that the judge’s absence in this case affected the framework within which the trial proceeded from beginning to end. Under these circumstances the absence of the judge did not constitute structural error.1
Accordingly, this trial error is subject to harmless error review. Generally, “[t]he government bears the burden of proving the error is harmless beyond a reasonable doubt.” United States v. Rogers, 556 F.3d 1130, 1141 (10th Cir.2009). When the defendant fails to timely object to an alleged error, however, we review only for plain error and “[i]t is the defendant rather than the Government who bears the burden of persuasion with respect to prejudice.” United States v. Olano, 507 U.S. 725, 734, 113 S.Ct. 1770, 123 L.Ed.2d 508 (1993). Mr. Solon failed to object to the district judge’s absence, therefore, he must show that “there is (1) error (2) that is plain, which (3) affects substantial rights, and which (4) seriously affects the fairness, integrity, or public reputation of judicial proceedings.” Gonzalez-Huerta, 403 F.3d at 732.
The government has conceded and we strongly agree that the judge’s departure from the bench was error. Furthermore, we hold that such error was also clear and obvious. Nevertheless, Mr. Solon has not satisfied the third prong of plain-error review. In order to do so, he “must show a reasonable probability that, but for the error claimed, the result of the *1213proceeding would have been different.” Id. at 733.
Mr. Solon contends that the “context and timing of the judge’s departure from the courtroom” resulted in sufficient prejudice to call into question the result of the proceeding. He argues that when combined with prior comments made about Ms. Loehrs, the judge’s departure from the bench “reflected on the credibility of the entire defense case.” The record does not support Mr. Solon’s position. Although the judge made several disparaging comments about Ms. Loehrs and her rates, only one such comment was made in front of the jury. When Ms. Loehrs testified that her work had been “stopped,” the judge gave the following instruction:
Members of the jury, the witness just said that she was stopped and coupled with her testimony yesterday there is the implication that the court stopped her from working. That is absolutely untrue. It is a falsity, and you are instructed to ignore it. And we will hear no more such testimony. I never did stop this witness from working. I did stop her from submitting excessive bills to the United States, and that’s all I ever did.
The dissent recites other statements by the judge; however, because those statements were made outside the presence of the jury, they could not have affected the jury’s perception of Ms. Loehrs or her testimony and therefore have no bearing on our analysis. Additionally, although the judge left the bench during defense counsel’s closing argument, it was during a point at which counsel was comparing the testimony of defense and prosecution witnesses in general, not just Ms. Loehrs’s. Defense counsel had already mentioned Ms. Loehrs’s testimony several times during his argument and went on to address her testimony in further detail after the judge’s return. Even in light of the judge’s prior statement, we cannot agree with Mr. Solon that the district judge’s absence could only be interpreted as discrediting Ms. Loehrs’s testimony or Mr. Solon’s defense.
Additionally, the government’s case was strong. Mr. Solon’s computer was observed online offering child pornography for download on June 23 and August 9, 10, and 11, 2006. A search of Mr. Solon’s computer’s hard drive revealed that on September 20, 2006, forty-six files with names consistent with child pornography were downloaded using Limewire, a peer-to-peer file sharing program. Furthermore, Mr. Solon admitted to using Lime-wire on September 20 to attempt to download two computer games. Additionally, the government presented evidence that Mr. Solon was playing online poker on his computer less than five minutes before the child pornography files were downloaded. In light of the brevity of the judge’s absence as well as the strength of the government’s case, Mr. Solon has not established a reasonable probability that, but for the judge’s absence, the jury would not have convicted him.
Because Mr. Solon has failed to satisfy plain-error review, he is not entitled to relief on this claim. Nevertheless, we note that it is serious error for a judge to leave the bench without safeguards. Ordinarily, when a judge needs to leave the bench, the court should take a recess. If for some reason the court does not take a recess, the judge should, at a minimum, provide notice to counsel and an admonition to the members of the jury concerning the nature of his absence and the fact that they should make no inference from his departure. These safeguards help to prevent prejudice to either party and to maintain the integrity of the judicial system.
*1214C. Speedy Trial Act
Finally, Mr. Solon claims he was denied his statutory right to a speedy trial under 18 U.S.C. § 3161. Specifically, he argues that the speedy trial clock began running thirty days after the district court took his motion to withdraw his guilty plea under advisement. The government argues that pursuant to § 3161(i), the clock did not begin to run until Mr. Solon’s motion was granted. We review the district court’s compliance with the Act de novo. United States v. Dirden, 38 F.3d 1131, 1135 (10th Cir.1994).
“The Speedy Trial Act is designed to protect a criminal defendant’s constitutional right to a speedy trial and serve the public interest in bringing prompt criminal proceedings.” United States v. Thompson, 524 F.3d 1126, 1131 (10th Cir.2008). It generally requires that the trial of a defendant commence within seventy days from the later of the filing date of the information or indictment or the defendant’s initial appearance. 18 U.S.C. § 3161(c)(1). That time period only applies, however, “[i]n any case in which a plea of not guilty is entered.” Id. When, as in this case, a plea of guilty is entered but later withdrawn, “the defendant shall be deemed indicted ... on the day the order permitting withdrawal of the plea becomes final,” thereby starting the seventy-day clock. Id. § 3161(i).
Accordingly, under the plain language of the Act, the speedy trial clock began running on September 17, 2008, the date on which the district court granted Mr. Solon’s motion. Trial commenced on November 3, 2008, well within the seventy-day time limit. Therefore, the district court properly denied Mr. Solon’s motion to dismiss based a violation of the Act.
III. CONCLUSION
For the foregoing reasons, we AFFIRM Mr. Solon’s conviction.

. We do not decide today whether a judge's absence from the bench might constitute structural error in a case where the facts indicate a "complete abdication of judicial control over the process.” See Riley, 56 F.3d at 1118. We only decide that based on the facts of this case, the judge's absence did not rise to the level of structural error.

